Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Acme Holdings of N.Y., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Dibble Family Center
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4120 West Main Street Road
                                  Batavia, NY 14020
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Genesee                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4110 West Main Street Road Batavia, NY 14020
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       dibbleevents.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Acme Holdings of N.Y., Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Acme Holdings of N.Y., Inc.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                              page 3
                                     Description: Main Document , Page 3 of 13
Debtor    Acme Holdings of N.Y., Inc.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 5, 2020
                                                  MM / DD / YYYY


                             X   /s/ Michael S. Tomaszewski                                               Michael S. Tomaszewski
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ David H. Ealy, Esq.                                                   Date February 5, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David H. Ealy, Esq. 2020832
                                 Printed name

                                 CRISTO LAW GROUP LLC
                                 Firm name

                                 d/b/a Trevett Cristo
                                 Two State Street, Suite 1000
                                 Rochester, NY 14614
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (585) 454-2181                Email address      dealy@trevettcristo.com

                                 2020832 NY
                                 Bar number and State




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                                     Description: Main Document , Page 4 of 13
 Fill in this information to identify the case:

 Debtor name         Acme Holdings of N.Y., Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 5, 2020                        X /s/ Michael S. Tomaszewski
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael S. Tomaszewski
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Acme Holdings of N.Y., Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Camillo, David                                                  Sale and delivery Disputed                                                                                 $4,956.00
 494 Reiman St.                                                  of meat products
 Buffalo, NY 14212                                               to Acme
 Complete Business                                               Furniture, fixtures                                $283,312.00                 $30,000.00              $253,312.00
 Solutions Group                                                 and equipment
 141 N. 2nd Street
 Philadelphia, PA
 19106
 EB Funding, LLC                                                 Factoring loan                                                                                           $10,790.00
 c/o Williams, Babbit
 & Weisman, Inc.
 1001 Yamato Road,
 Suite 302
 Boca Raton, FL
 33431
 Kevin Bezon                                                     Contractor work                                                                                          $30,000.00
 Enterprises, Inc.                                               on real property
 4589 Ridge Road
 Morton, NY 14508
 Northwest Bank                                                  RE - 4120 W. Main                                  $442,304.00               $295,000.00               $147,304.00
 100 Liberty Street                                              St. Rd.
 P.O. Box 128
 Warren, PA 16365
 NYS Department of                                               Corp./sales                                                                                              $16,240.00
 Taxation & Finance
 Attn: BK Unit
 P.O. Box 5300
 Albany, NY 12205
 Steuben Trust                                                   RE - 4110 West                                     $119,114.00                 $98,000.00                $35,081.00
 Company                                                         Main Street Road
 One Steuben Square
 Hornell, NY
 14843-0647
 U.S. Small Business                                             RE - 4120 West                                     $103,570.00               $295,000.00                 $23,604.00
 Administration                                                  Main St. Rd.
 50 Beaver St.
 Albany, NY 12207


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                     Western District of New York
 In re      Acme Holdings of N.Y., Inc.                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Michael S. Tomaszewski                                              Common           200                                        Shareholder
 43 Edgewood Drive
 Batavia, NY 14020


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 5, 2020                                                        Signature /s/ Michael S. Tomaszewski
                                                                                            Michael S. Tomaszewski

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                     Western District of New York
 In re      Acme Holdings of N.Y., Inc.                                                                    Case No.
                                                                                   Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 5, 2020                                           /s/ Michael S. Tomaszewski
                                                                        Michael S. Tomaszewski/President
                                                                        Signer/Title




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                     Alex M. Neuhohr, Esq.
                     HoganWillig
                     2420 North Forest Road, Suite 301
                     Getzville, NY 14068


                     Batavia City School District
                     P.O. Box 6757
                     Ithaca, NY 14851


                     Brownell, Gary & Mary Ann
                     1134 Marigold Ln.
                     Albuquerque, NM 87122


                     Camillo, David
                     494 Reiman St.
                     Buffalo, NY 14212


                     Complete Business Solutions Group
                     141 N. 2nd Street
                     Philadelphia, PA 19106


                     Dibble, Maura Newstead-Dibble
                     3330 Pratt Road
                     Batavia, NY 14020


                     EB Funding, LLC
                     c/o Williams, Babbit & Weisman, Inc.
                     1001 Yamato Road, Suite 302
                     Boca Raton, FL 33431


                     Empire State Certified Development Corp.
                     50 Beaver St.
                     Albany, NY 12207


                     Genesee County Treasurer
                     Buiding No. 1, Main and Court Streets
                     Batavia, NY 14020


                     Internal Revenue Service
                     Insolvency Section
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346




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                 Kevin Bezon Enterprises, Inc.
                 4589 Ridge Road
                 Morton, NY 14508


                 Northwest Bank
                 100 Liberty Street
                 P.O. Box 128
                 Warren, PA 16365


                 NYS Department of Taxation & Finance
                 Attn: BK Unit
                 P.O. Box 5300
                 Albany, NY 12205


                 Rupp Baase Pfalzgraf Cunningham LLC
                 400 Powers Building
                 16 W. Main St.
                 Rochester, NY 14614


                 Shuknecht, Lee and Joan
                 6277 Oak Orchard Rd.
                 Elba, NY 14058


                 Steuben Trust Company
                 One Steuben Square
                 Hornell, NY 14843-0647


                 Tomaszewski, Michael S.
                 43 Edgewood Dr.
                 Batavia, NY 14020


                 Tomaszewski, Valerie
                 4120 West Main Street Road
                 Batavia, NY 14020


                 Tomaszewski, Valerie
                 43 Edgewood Dr.
                 Batavia, NY 14020


                 U.S. Small Business Administration
                 50 Beaver St.
                 Albany, NY 12207




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                 Valz, Noman M.
                 205 Arch Street
                 2nd Floor
                 Philadelphia, PA 19106




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                                                                     Western District of New York
 In re      Acme Holdings of N.Y., Inc.                                                                   Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Acme Holdings of N.Y., Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 5, 2020                                                     /s/ David H. Ealy, Esq.
 Date                                                                 David H. Ealy, Esq. 2020832
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Acme Holdings of N.Y., Inc.
                                                                      CRISTO LAW GROUP LLC
                                                                      d/b/a Trevett Cristo
                                                                      Two State Street, Suite 1000
                                                                      Rochester, NY 14614
                                                                      (585) 454-2181 Fax:(585) 454-4026
                                                                      dealy@trevettcristo.com




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                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      Acme Holdings of N.Y., Inc.                                                                     Case No.
                                                                                 Debtor(s)                  Chapter    11



                                                     DECLARATION RE: ELECTRONIC FILING OF
                                                      PETITION, SCHEDULES & STATEMENTS
PART I - DECLARATION OF PETITIONER
          I (WE) Michael S. Tomaszewski and                        , the undersigned debtor(s), hereby declare under
penalty of perjury that the information provided in the electronically filed petition, statements, and schedules is true and
correct and that I signed these documents prior to electronic filing. I consent to my attorney sending my petition,
statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE:
ELECTRONIC FILING is to be executed at the First Meeting of Creditors and filed with the Trustee. I understand that
failure to file the signed original of this DECLARATION may cause my case to be dismissed pursuant to 11 U.S.C. §
707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the original Statement of
Social Security Number(s), (Official Form B21) prior to the electronic filing of the petition and have verified the 9-digit
social security number displayed on the Notice of Meeting of Creditors to be accurate.
                  If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a
chapter: I am aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the
relief available under each chapter, and choose to proceed under this chapter. I request relief in accordance with the
chapter specified in this petition. I (WE)        and     , the undersigned debtor(s), hereby declare under penalty of
perjury that the information provided in the electronically filed petition, statements, and schedules is true and correct.
                 If petitioner is a corporation or partnership: I declare under penalty of perjury that the information
provided in the electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf
of the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
                  If petitioner files an application to pay filing fees in installments: I certify that I completed an application to
pay the filing fee in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition,
the bankruptcy case may be dismissed and, if dismissed, I may not receive a discharge of my debts.
 Dated:           February 5, 2020

 Signed:
                  Michael S. Tomaszewski
                  (Applicant)                                                                (Joint Applicant)
PART II - DECLARATION OF ATTORNEY
        I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including
the Statement of Social Security Number(s), Official Form B21, before I electronically transmitted the petition, schedules,
and statements to the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders
and Administrative Procedures, including submission of the electronic entry of the debtor(s) Social Security number into
the Court's electronic records. If an individual, I further declare that I have informed the petitioner (if an individual) that [he
or she] may qualify to proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief
available under each chapter. This declaration is based on the information of which I have knowledge.
 Dated:           February 5, 2020
                                                                                       David H. Ealy, Esq. 2020832
                                                                                       Attorney for Debtor(s)

                                                                                       Address of Attorney
                                                                                       d/b/a Trevett Cristo
                                                                                       Two State Street, Suite 1000
                                                                                       Rochester, NY 14614
                                                                                       (585) 454-2181 Fax:(585) 454-4026
                                                                                       dealy@trevettcristo.com




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